      Case 18-61886-pwb               Doc 9 Filed 07/19/18 Entered 07/19/18 10:12:54                               Desc 7-day
                                         order grant aplc. instal Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT
                                             Northern District of Georgia
                                                  Atlanta Division


In      Debtor(s)
Re:     Martina Lavett Sapp                                          Case No.: 18−61886−pwb
                                                                     Chapter: 13


 ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS FOR
                  INDIVIDUALS OR JOINT DEBTORS
       Debtor or Debtors (hereinafter Debtors) has filed an application to pay the filing fee in three installments, but
did not remit in full the initial payment due at the time of filing. Accordingly, it is ORDERED that:

       1. Debtor's application is granted, provided that Debtor shall pay the balance due on the initial filing fee
installment payment, in the amount of $75.00 by July 26, 2018. If Debtor fails to pay timely this initial filing fee
installment, Debtor's case will be dismissed without further notice or opportunity for hearing.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                                United States Bankruptcy Court
                                                 1340 Richard Russell Building
                                                   75 Ted Turner Drive, SW
                                                      Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is
not accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional
office will accept these forms of payment as well as cash.

      2. If the Debtor remits the initial installment in full, debtor shall pay an amount not less than one−half of the
unpaid balance of the filing fee as the second installment within 30 days of the petition date; and Debtor shall pay the
remaining unpaid balance of the filing fee as the final installment within 60 days of the petition date:

   Second installment of $117.50 on or before August 17, 2018 .
   Final installment of $117.50 on or before September 17, 2018.

      3. Failure by Debtor to pay timely the second or final installment will result in dismissal of the case without
opportunity for hearing.

      4. In accordance with Bankruptcy Rule 1006(b)(3), until the filing fee is paid in full, Debtor shall not pay, and
no person shall accept, any money for services in connection with Debtor's case, and Debtor shall not relinquish, and
no person shall accept, any property as payment for services in connection with this case.

      The Clerk will serve this Order on Debtor, Debtor's counsel, and Trustee.

  SO ORDERED, on July 19, 2018 .




United States Bankruptcy Judge
 Paul307
Form  W.(7−Day
         Bonapfel
               Order Granting Application to Pay Filing Fee in Installments of Individual Chapter 7, 11, 12, or 13 cases. − Revised June,
2015)
